Case 9:02-cr-80074-CMA Document 217 Entered on FLSD Docket 09/23/2022 Page 1 of 13
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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

   David J. Smith                                                                     For rules and forms visit
   Clerk of Court                                                                     www.ca11.uscourts.gov


                                          September 23, 2022
                                                                                            JE
   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE                                                             Sep 23, 2022
   MIAMI, FL 33128-1810

   Appeal Number: 21-11912-JJ                                                                   MIAMI

   Case Style: USA v. Shelby Moore
   District Court Docket No: 9:02-cr-80074-CMA-1

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                                             In the
                        United States Court of Appeals
                                   For the Eleventh Circuit
                                    ____________________

                                          No. 21-11912
                                    ____________________

              UNITED STATES OF AMERICA,
                                                               Plaintiff-Appellee,
              versus
              SHELBY KENNETH MOORE,


                                                            Defendant-Appellant.


                                    ____________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                             D.C. Docket No. 9:02-cr-80074-CMA-1
                                    ____________________

                                          JUDGMENT




   ISSUED AS MANDATE: 09/23/2022
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              2                                                            21-11912

              It is hereby ordered, adjudged, and decreed that the opinion is-
              sued on this date in this appeal is entered as the judgment of this
              Court.
                                     Entered: August 25, 2022
                           For the Court: DAVID J. SMITH, Clerk of Court




   ISSUED AS MANDATE: 09/23/2022
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                                                       [DO NOT PUBLISH]
                                        In the
                     United States Court of Appeals
                             For the Eleventh Circuit

                               ____________________

                                     No. 21-11912
                               Non-Argument Calendar
                               ____________________

            UNITED STATES OF AMERICA,
                                                          Plaintiff-Appellee,
            versus
            SHELBY KENNETH MOORE,


                                                       Defendant-Appellant.


                               ____________________

                      Appeal from the United States District Court
                          for the Southern District of Florida
                        D.C. Docket No. 9:02-cr-80074-CMA-1
                               ____________________
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            2                      Opinion of the Court                 21-11912


            Before JILL PRYOR, BRANCH, and BRASHER, Circuit Judges.
            PER CURIAM:
                    Shelby Moore, a federal prisoner serving a total sentence of
            352 months’ imprisonment, appeals the denial of his motion for a
            reduced sentence under the First Step Act. He argues that the dis-
            trict court failed to explain the reasons for its sentence, improperly
            weighed the 18 U.S.C. § 3553(a) factors, and ignored mitigating ev-
            idence of his post-conviction rehabilitation. After careful review,
            we affirm.
                                  I.     BACKGROUND

                   In 2002, a jury convicted Shelby Moore of conspiracy to pos-
            sess with intent to distribute cocaine and crack cocaine (Count
            One); conspiracy to possess with intent to distribute crack cocaine
            (Count Two); conspiracy to possess with intent to distribute crack
            cocaine within 1,000 feet of a school (Count Five); possession of a
            firearm in furtherance of a drug trafficking crime (Count Six); pos-
            session of a firearm as a fugitive from justice (Count Seven); pos-
            session of ammunition as a fugitive from justice (Count Eight); pos-
            session of a firearm having been convicted of misdemeanor domes-
            tic violence (Count Nine); and possession of ammunition having
            been convicted of misdemeanor domestic violence (Count Ten).
                   The district court sentenced Moore to 360 months’ impris-
            onment as to Counts One, Two, and Five, to be served concur-
            rently; 60 months as to Count Six, to be served consecutively; and
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            21-11912               Opinion of the Court                         3

            120 months as to Counts Seven through Ten, to be served concur-
            rently; for a total sentence of 420 months. The district court also
            imposed eight years of supervised release.
                    In 2014, Moore moved to reduce his 360-month sentence on
            Counts One, Two, and Five, based on Amendments 706, 750, and
            782 to the Sentencing Guidelines, which lowered the offense levels
            for crack cocaine offenses. The district court granted the motion,
            reducing his sentences on those counts to 292 months, bringing his
            total sentence down to 352 months.
                   In 2019, Moore moved for another sentence reduction as to
            the drug-related counts of his conviction, this time under the First
            Step Act and 18 U.S.C. § 3592(c)(2). He explained that, at the time
            of his sentencing, the court found that the total relevant conduct
            involved 8,739 grams of crack cocaine, corresponding with a base
            offense level of 38, which was enhanced by two levels for lying un-
            der oath at trial. He argued that because the First Step Act made
            the reductions to crack cocaine sentences contained in the Fair Sen-
            tencing Act, Pub. L. No. 111-220, 124 Stat. 2372 retroactive, his rel-
            evant conduct involved only 495 grams of crack cocaine, corre-
            sponding to a base offense level of 30. Further, Moore argued that
            he was entitled to an additional two-level reduction under Amend-
            ment 706, which retroactively applied a two-level reduction to all
            crack cocaine offenses. Moore argued that he was entitled to a new
            base level offense of 28 and a criminal history category of III, which
            yielded a sentencing range of 97 to 121 months, plus the additional
            sixty-month sentence for Count Six. Accordingly, he requested that
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            4                       Opinion of the Court                 21-11912

            the district court resentence him to a total of 157 months’ impris-
            onment.
                   The district court denied Moore’s motion on the basis that
            his sentences for the drug charges had already been reduced to
            post-Fair Sentencing Act levels, and that he was not eligible for an-
            other sentencing reduction. Moore moved for reconsideration,
            which the district court denied, and Moore appealed. On appeal,
            we vacated and remanded the district court’s order denying a sen-
            tence reduction, holding that Counts One, Two, and Five were
            covered offenses under the Fair Sentencing Act and that Moore was
            eligible for a limited resentencing on those counts under the First
            Step Act. See United States v. Moore, 839 F. App’x 401 (11th Cir.
            2021).
                   Moore then filed a memorandum in district court requesting
            a reduction in his 292-month prison sentence for Counts One,
            Two, and Five and a reduction in his term of supervised release.
            Moore argued that a reduction was justified by the 18 U.S.C. §
            3553(a) factors, his post-sentencing rehabilitation, his non-violent
            behavior in prison, and his positive relationships with family mem-
            bers, among other things.
                   The district court, in its discretion, declined to further re-
            duce Moore’s 292-month sentence for Counts One, Two, and Five.
            It explained that it had “carefully considered the factors in 18 U.S.C.
            § 3553(a),” especially the nature and circumstances of the offense.
            It emphasized that Moore’s crime was a “blatant” and “persistent”
            one, involving a large quantity of drugs and a firearm, that Moore
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            had never accepted responsibility, and that Moore had perjured
            himself at trial. It also considered Moore’s individual history and
            circumstances, noting that: he was “not a terribly young man”
            when he was arrested at age thirty-one; he had a long criminal his-
            tory; and that before being arrested he was legitimately employed
            such that he did not need to sell drugs for survival.
                   The court then discussed Moore’s behavior post-conviction.
            It noted that Moore had worked and taken classes while incarcer-
            ated, but that it was “not unusual” for someone serving a long sen-
            tence to work to “occupy one’s time.” And it noted that his disci-
            plinary record in prison was “not remarkable”—though Moore had
            never been cited for violent behavior, he had received five discipli-
            nary infractions. Accordingly, the court declined to further reduce
            Moore’s total prison sentence of 352 months, though it reduced his
            term of supervised release from eight to six years. Moore objected
            to the procedural and substantive reasonableness of the sentence.
            Moore then appealed.
                                            II.

                   We review a district court’s denial of an eligible movant’s
            request for a reduced sentence under the First Step Act for an abuse
            of discretion. United States v. Jones, 962 F.3d 1290, 1296 (11th Cir.
            2020). A district court abuses its discretion when it (1) fails to afford
            consideration to relevant factors that were due significant weight,
            (2) gives significant weight to an improper or irrelevant factor, or
            (3) commits a clear error of judgment in considering the proper
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            factors. United States v. Irey, 612 F.3d 1160, 1189 (11th Cir. 2010)
            (en banc).
                   On appeal, Moore argues that the district court abused its
            discretion by failing to explain the reasons for its sentence, failing
            to properly weigh the Section 3553(a) factors, and failing to con-
            sider mitigating evidence of his post-conviction rehabilitation. The
            government responds that the district court considered the Section
            3553(a) sentencing factors, even though it is not required to do so
            when resolving First Step Act motions. The government also ar-
            gues that the district court adequately considered Moore’s mitigat-
            ing evidence and was within its discretion to determine that that
            evidence was outweighed by other factors, including the nature of
            Moore’s offenses and his criminal history. We agree.
                    District courts have the authority to reduce eligible mo-
            vants’ sentences under the First Step Act, but they are not required
            to do so. Jones, 962 F.3d at 1304. Instead, “[d]istrict courts have
            wide latitude to determine whether and how to exercise their dis-
            cretion in this context.” Id. Further, in ruling on a motion for a re-
            duced sentence under the First Step Act, a district court may—but
            is not required to—consider the 18 U.S.C. § 3553(a) factors. United
            States v. Stevens, 997 F.3d 1307, 1316 (11th Cir. 2021).
                   District courts must, however, provide a reasoned basis for
            their decision. Where intervening changes of law or fact are raised
            by the movant, sentencing courts must consider them. See Con-
            cepcion v. United States, 142 S. Ct. 2389, 2396 (2022) (explaining
            that the First Step Act requires district courts to consider
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            intervening changes of law or of fact when parties raise them,
            though it does not compel courts to exercise their discretion to re-
            duce any sentence based on those arguments). And they must ade-
            quately explain their sentencing decision in such a way to allow for
            meaningful appellate review. Id. at 2404 (holding that, when decid-
            ing a First Step Act motion, district courts bear the “standard obli-
            gation” to explain their decisions and demonstrate that they con-
            sidered the parties’ arguments).
                    Here, the district court did not abuse its discretion in deny-
            ing Moore’s motion for a sentence reduction. The district court
            recognized that Moore was eligible for a sentence reduction under
            the First Step Act, but in its considerable discretion decided not to
            reduce his sentence. The district court adequately explained that it
            was denying Moore’s motion based on the nature and circum-
            stances of his offense, including the drug quantity involved; his use
            of a firearm; his criminal history; his failure to accept responsibility;
            and his obstruction of justice at trial. And the district court ex-
            plained that it had considered the Section 3553(a) sentencing fac-
            tors—even though it was not required to.
                     Moore argues that the district court did not afford adequate
            consideration to other factors weighing in favor of a sentence re-
            duction, such as his post-conviction rehabilitation. But the district
            court explicitly considered Moore’s post-conviction rehabilitation,
            fulfilling its obligation to consider intervening changes of fact
            raised by the movant under Concepcion. It made a reasoned deci-
            sion that those factors were outweighed by the numerous factors
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            that counseled against a sentence reduction. And we do not re-
            weigh on appeal the considerations for or against granting a mo-
            tion for a sentence reduction under the First Step Act, an act com-
            mitted to the “wide latitude” of the district court’s discretion. See
            Jones, 962 F.3d at 1304. The district court articulated a reasoned
            basis for its decision denying Moore’s request for a sentence reduc-
            tion, providing ample basis for meaningful appellate review. That
            is enough. For these reasons, we affirm the district court’s ruling.
                  AFFIRMED.
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                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

   David J. Smith                                                                       For rules and forms visit
   Clerk of Court                                                                       www.ca11.uscourts.gov


                                             August 25, 2022

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 21-11912-JJ
    Case Style: USA v. Shelby Moore
    District Court Docket No: 9:02-cr-80074-CMA-1

    Electronic Filing
    All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
    unless exempted for good cause. Although not required, non-incarcerated pro se parties are
    permitted to use the ECF system by registering for an account at www.pacer.gov. Information
    and training materials related to electronic filing are available on the Court's website. Enclosed
    is a copy of the court's decision filed today in this appeal. Judgment has this day been entered
    pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP
    41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
    filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
    provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
    timely only if received in the clerk's office within the time specified in the rules. Costs are
    governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
    attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested
    Persons a complete list of all persons and entities listed on all certificates previously filed by
    any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
    reheard must be included in any petition for rehearing or petition for rehearing en banc. See
    11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
    compensation for time spent on the appeal no later than 60 days after either issuance of mandate
    or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
    the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
    system.
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    For questions concerning the issuance of the decision of this court, please call the number
    referenced in the signature block below. For all other questions, please call Tiffany A. Tucker,
    JJ at (404)335-6193.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Djuanna H. Clark
    Phone #: 404-335-6151

                                                                 OPIN-1 Ntc of Issuance of Opinion
